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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA             :     Hon. Claire C. Cecchi
                                     :
      v.                             :     Crim. No. 19-877 (CCC)
                                     :
MATTHEW BRENT GOETTSCHE,             :
[DEFENDANT TWO]                      :     ORDER AUTHORIZING
JOBADIAH SINCLAIR WEEKS,             :     ALTERNATIVE VICTIM
JOSEPH FRANK ABEL,                   :     NOTIFICATION
SILVIU CATALIN BALACI                :


      Pursuant to 18 U.S.C. § 3771, the United States of America (Craig

Carpenito, United States Attorney for the District of New Jersey, by Anthony P.

Torntore, Assistant United States Attorney, appearing) seeks an order

authorizing it to provide notice by publication to the large number of crime

victims in this case. Under Section 3771(a)(2), crime victims have a right to

“reasonable, accurate, and timely notice” of public court proceedings, including

sentencings.

      In this case, the victims of the charged wire and securities fraud scheme

are individual investors in the BitClub Network (“BCN”). Those numerous

individuals have not yet been fully identified and located. The United States

estimates that there are thousands of individual investors who purchased

shares in BCN. It will thus be impracticable for the Government to identify and

locate all investors and provide them with reasonable, accurate, and timely

notice by mail of this case and any future proceedings.

      Under such circumstances, Section 3771(d)(2) of the Crime Victims’

Rights Act gives the Court the authority to “fashion a reasonable procedure to
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give effect to this chapter that does not unduly complicate or prolong the

proceedings.” The Government seeks authorization to provide notice to the

potential victims by publication, which directs potential victims to the U.S.

Attorney’s website, where links provide victims with continuous updates about

the status of the case.

      The Court finds (1) that the “multiple victim” provisions of 18 U.S.C.

§ 3771(d)(2) apply to the above-captioned case; (2) that it is impractical for the

Government to identify all the direct and proximate victims of the charged

offense on an individual basis at this time without unduly complicating or

delaying this matter; and (3) notice by publication is a “reasonable procedure”

to give effect to the provisions of 18 U.S.C. § 3771. Accordingly, it is ordered

that the United State is authorized to comply with 18 U.S.C. § 3771(a)(2) by

providing notice of upcoming court proceedings by publication.



                                             ____________________________________
                                             Honorable Claire C. Cecchi
                                             United States District Judge


DATE:
